     Case 4:23-cv-03609 Document 43 Filed on 01/02/24 in TXSD Page 1 of 10




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

DARRYL GEORGE AND            §
DARRESHA GEORGE              §
                             §
         Plaintiffs,         §
                             §
v.                           §                            C.A. No. 4:23-CV-03609
                             §
GREG ABBOTT, KEN PAXTON,     §
BARBERS HILL INDEPENDENT     §
SCHOOL DISTRICT, GREG POOLE, §
LANCE MURPHY AND RYAN        §
RODRIGUEZ                    §
                             §
         Defendants.         §


BARBERS HILL INDEPENDENT SCHOOL DISTRICT, GREG POOLE, LANCE
    MURPHY, AND RYAN RODRIGUEZ’S NOTICE TO THE COURT

       Barbers Hill Independent School District (the District), Greg Poole, Lance Murphy,

and Ryan Rodriguez (the BHISD Defendants) file this Notice to the Court, as follows:

       1.     On December 13, 2023, the Court held its Initial Conference. See Dkt. 39.

       2.     During the Initial Conference, the Parties and the Court discussed Plaintiffs’

Motion to Consolidate this action with George v. Barbers Hill Independent School District,

4:23-cv-03681, a declaratory judgment action originally filed by the District in state court

that was removed to federal court by Plaintiffs and was pending before Judge Hanks. Id.

       3.     The District in the declaratory judgment action is represented by separate

counsel and filed a motion to remand. Id. At the time of the Initial Conference in this matter,

the motion to remand was still pending. Id.
    Case 4:23-cv-03609 Document 43 Filed on 01/02/24 in TXSD Page 2 of 10




       4.     On December 20, 2023, Judge Hanks issued an Order granting the District’s

motion to remand. See Memorandum Opinion and Order Remanding Case, attached as

Exhibit A.

       5.     As such, the BHISD Defendants file this Notice to the Court regarding Judge

Hanks’ Order remanding the declaratory judgment action back to state court, and mooting

Plaintiffs’ motion to consolidate.

                                         Respectfully submitted,

                                         ROGERS, MORRIS & GROVER, L.L.P.

                                         _________________________________
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                                         ATTORNEYS   FOR   BARBERS     HILL
                                         INDEPENDENT SCHOOL DISTRICT, GREG
                                         POOLE, LANCE MURPHY, AND RYAN
                                         RODRIGUEZ

                                            2
    Case 4:23-cv-03609 Document 43 Filed on 01/02/24 in TXSD Page 3 of 10




                        CERTIFICATE OF CONFERENCE

       I hereby certify that on January 2, 2024, I conferred with Ms. Booker, counsel for
Plaintiffs, and Ms. Warren, counsel for the State Defendants, over email correspondence
regarding this above Notice. They are unopposed.


                                               _______________________________
                                               Attorney for Barbers Hill ISD, Dr. Greg
                                               Poole, Lance Murphy, and Ryan
                                               Rodriguez

                            CERTIFICATE OF SERVICE

       I hereby certify that on January 2, 2024, I electronically filed the foregoing
document with the Clerk of Court using the CM/ECF system which will send electronic
notification of such filing to all counsel of record.



                                               _______________________________
                                               Attorney for Barbers Hill ISD, Dr. Greg
                                               Poole, Lance Murphy, and Ryan
                                               Rodriguez




                                           3
Case 4:23-cv-03609 Document 43 Filed on 01/02/24 in TXSD Page 4 of 10




                  EXHIBIT A
      Case
      Case4:23-cv-03609
           4:23-cv-03681 Document
                         Document43
                                  16 Filed
                                     Filedon
                                           on01/02/24
                                             12/20/23in
                                                      inTXSD
                                                        TXSD Page
                                                             Page51of
                                                                   of10
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                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                                                                                 December 20, 2023
                          UNITED STATES DISTRICT COURT
                                                                                  Nathan Ochsner, Clerk
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

BARBERS HILL INDEPENDENT                       §
SCHOOL DISTRICT,                               §
                                               §
         Plaintiff,                            §
VS.                                            § CIVIL ACTION NO. 4:23-CV-3681
                                               §
DARRESHA G.,                                   §
                                               §
         Defendant.

          MEMORANDUM OPINION AND ORDER REMANDING CASE

       Before the Court is a motion to remand filed by the plaintiff, Barbers Hill

Independent School District (“Barbers Hill”). The motion (Dkt. 10) is GRANTED. This

case is REMANDED to the 253rd Judicial District Court of Chambers County, Texas,

where it was assigned cause number 23DCV0776.

                  FACTUAL AND PROCEDURAL BACKGROUND

       Barbers Hill sued Defendant Darresha G. (who is acting on behalf of D.G., a minor

child, and to whom the Court will refer as “Darresha”) in Texas state court under the Texas

Declaratory Judgment Act, seeking a judicial declaration that the newly enacted Section

25.902 of the Texas Education Code (“the CROWN Act”) “does not render unlawful those

portions of [Barbers Hill’s] dress and grooming restrictions limiting male student hair

length.” (Dkt. 3-1 at pp. 4–5). Barbers Hill did not plead any other causes of action and did

not seek any other relief. (Dkt. 3-1).

       Darresha removed this case to this Court under the federal question jurisdiction

statute, 28 U.S.C. § 1331. (Dkt. 1; Dkt. 3).


1/6
      Case
      Case4:23-cv-03609
           4:23-cv-03681 Document
                         Document43
                                  16 Filed
                                     Filedon
                                           on01/02/24
                                             12/20/23in
                                                      inTXSD
                                                        TXSD Page
                                                             Page62of
                                                                   of10
                                                                      6




                                  LEGAL STANDARDS

       A defendant may remove to federal court a state-court civil action over which the

federal court would have original jurisdiction. 28 U.S.C. § 1441(a); see Gasch v. Hartford

Acc. & Indem. Co., 491 F.3d 278, 281 (5th Cir. 2007). Because it implicates important

federalism concerns, removal jurisdiction is strictly construed. Frank v. Bear Stearns &

Co., 128 F.3d 919, 921–22 (5th Cir. 1997). Any doubts concerning removal must be

resolved in favor of remand, Acuna v. Brown & Root Inc., 200 F.3d 335, 339 (5th Cir.

2000), and the federal court “must presume that a suit lies outside [its] limited jurisdiction.”

Howery v. Allstate Ins. Co., 243 F.3d 912, 916 (5th Cir. 2001). The removing party bears

the burden of establishing by a preponderance of the evidence that federal jurisdiction

exists and that removal was proper. Manguno v. Prudential Prop. & Cas. Ins. Co., 276

F.3d 720, 723 (5th Cir. 2002).

       Federal district courts have original jurisdiction over “all civil actions arising under

the Constitution, laws, or treaties of the United States.” See 28 U.S.C. § 1331. An action

can “arise under” federal law as contemplated in Section 1331 in two ways. The first and

more obvious way is where a well-pleaded complaint explicitly asserts a cause of action

created by federal law. Venable v. La. Workers’ Comp. Corp., 740 F.3d 937, 941 (5th Cir.

2013); Singh v. Duane Morris LLP, 538 F.3d 334, 337 (5th Cir. 2008).

       The second way is where a well-pleaded complaint asserts a state-law cause of

action that “necessarily raises a stated federal issue, actually disputed and substantial,

which a federal forum may entertain without disturbing any congressionally approved

balance of federal and state judicial responsibilities[.]” Venable, 740 F.3d at 941 (quoting


2/6
      Case
      Case4:23-cv-03609
           4:23-cv-03681 Document
                         Document43
                                  16 Filed
                                     Filedon
                                           on01/02/24
                                             12/20/23in
                                                      inTXSD
                                                        TXSD Page
                                                             Page73of
                                                                   of10
                                                                      6




Grable & Sons Metal Prods., Inc. v. Darue Eng’g & Mfg., 545 U.S. 308, 314 (2005))

(brackets omitted); see also Singh, 538 F.3d at 338. A state-law cause of action does not

raise a federal issue simply because the parties may ultimately litigate a federal issue,

Venable, 740 F.3d at 942–43; Singh, 538 F.3d at 338, and a civil action does not arise under

federal law by dint of a “mention of federal law” in its articulation of a state-law claim.

Howery, 243 F.3d at 917–19. Rather, “a right or immunity created by the Constitution or

laws of the United States must be an element, and an essential one, of the plaintiff’s cause

of action.” Venable, 740 F.3d at 943 (quoting Gully v. First Nat’l Bank in Meridian, 299

U.S. 109, 112 (1936)) (brackets and capitalization omitted); see also Singh, 538 F.3d at

338 (noting that resolution of the federal issue must be “necessary to resolution of the state-

law claim”) (emphasis added).

       Ultimately, the determination of whether a state-law claim raises a federal issue that

confers subject matter jurisdiction on the federal courts is a “contextual” one for which

there is no “bright-line rule[.]” Grable, 545 U.S. at 317–18. Under the well-pleaded

complaint rule, the court limits its inquiry to “what necessarily appears in the plaintiff’s

statement of his own claim . . . unaided by anything alleged in anticipation or avoidance of

defenses which it is thought the defendant may interpose.” Venable, 740 F.3d at 942

(quoting Taylor v. Anderson, 234 U.S. 74, 75–76 (1914)). Moreover, the district court looks

at “the state court complaint as it exists at the time of removal[.]” Cavallini v. State Farm

Mutual Insurance Co., 44 F.3d 256, 264–65 (5th Cir. 1995); see also Turner v. GoAuto

Insurance Co., 33 F.4th 214, 215, 217 (5th Cir. 2022) (“When a case is removed from state

court to federal court and the plaintiff seeks to have the case remanded, we evaluate the


3/6
      Case
      Case4:23-cv-03609
           4:23-cv-03681 Document
                         Document43
                                  16 Filed
                                     Filedon
                                           on01/02/24
                                             12/20/23in
                                                      inTXSD
                                                        TXSD Page
                                                             Page84of
                                                                   of10
                                                                      6




complaint at the time of removal.”).

                                         ANALYSIS

       Barbers Hill’s state-court pleading asserts no causes of action created by federal law

and, in fact, does not mention federal law at all. (Dkt. 3-1). To establish federal question

jurisdiction, then, Darresha must show that “a right or immunity created by the Constitution

or laws of the United States [is] an element, and an essential one,” of Barbers Hill’s state-

law cause of action. Venable, 740 F.3d at 943 (brackets and capitalization omitted).

Darresha has failed to make that showing.

       Darresha contends that removal of this case was proper because she “had identical

pending claims already in federal court in another case and because the claims that [Barbers

Hill] brought could have been brought in federal court making them ripe for removal.”

(Dkt. 11 at p. 4). The first contention, even if true, is irrelevant; the second is incorrect.

       A. Related case

       Darresha first argues that the Court has jurisdiction over this case because this case

is related to Southern District of Texas case number 4:23-CV-3609. (Dkt. 11 at p. 3). Even

assuming that such a relationship exists between the two cases, it is immaterial. The Court

must determine whether it has subject matter jurisdiction over this case solely by examining

Barbers Hill’s state-court pleading as it existed at the time of removal. Cavallini, 44 F.3d

at 264–65; Turner, 33 F.4th at 215, 217. Here, Barbers Hill’s state-court pleading does not

raise a federal issue, and Darresha cannot create subject matter jurisdiction over this case

by trying to consolidate it with another case. See Traub Rodite, LLC v. Westchester Surplus

Lines Insurance Co., No. 2:23-CV-537, 2023 WL 6519522, at *2 (M.D. Fla. Sept. 18,


4/6
      Case
      Case4:23-cv-03609
           4:23-cv-03681 Document
                         Document43
                                  16 Filed
                                     Filedon
                                           on01/02/24
                                             12/20/23in
                                                      inTXSD
                                                        TXSD Page
                                                             Page95of
                                                                   of10
                                                                      6




2023) (“Defendant puts the cart before the horse. The Court tests subject matter jurisdiction

at the time of removal. So it cannot consolidate the related cases and then assess if the

amount in controversy is satisfied. Nor could the Court consolidate cases over which it has

no subject matter jurisdiction.”) (citations omitted).

       B. The Declaratory Judgment Act

       Next, Darresha argues that removal was proper because Barbers Hill could have

brought its claims in federal court. This contention is incorrect.

       Barbers Hill brought its claims in state court solely under the Texas Declaratory

Judgment Act. (Dkt. 3-1 at pp. 4–5). Generally, “[w]hen a declaratory judgment action is

filed in state court and is subsequently removed to federal court, it is converted to one

brought under the federal Declaratory Judgment Act.” Bell v. Bank of America Home Loan

Servicing LP, No. 4:11-CV-2085, 2012 WL 568755, at *8 (S.D. Tex. Feb. 21, 2012) (J.

Ellison). However, “[a] claim under the Declaratory Judgment Act is insufficient to confer

federal question jurisdiction under 28 U.S.C. § 1331.” Frye v. Anadarko Petroleum Corp.,

953 F.3d 285, 293 (5th Cir. 2019). “[T]he Declaratory Judgment Act alone does not create

a federal cause of action. In a case of actual controversy within its jurisdiction, the

Declaratory Judgment Act only authorizes a federal court to declare the rights and other

legal relations of any interested party seeking such declaration.” Harris County Texas v.

MERSCORP Inc., 791 F.3d 545, 552 (5th Cir. 2015). In short, “[a] declaratory judgment

claim is not jurisdiction-conferring; there must be an independent basis for federal

jurisdiction.” Budget Prepay, Inc. v. AT&T Corp., 605 F.3d 273, 278 (5th Cir. 2010).

       Darresha has not established an independent basis for federal jurisdiction. Barbers


5/6
      Case
       Case4:23-cv-03609
            4:23-cv-03681 Document
                           Document43
                                    16 Filed
                                        Filedon
                                              on01/02/24
                                                 12/20/23ininTXSD
                                                              TXSD Page
                                                                    Page10
                                                                         6 of 6
                                                                              10




Hill’s claims seek a judicial declaration that the CROWN Act “does not render unlawful

those portions of [Barbers Hill’s] dress and grooming restrictions limiting male student

hair length.” (Dkt. 3-1 at pp. 4–5). The declaration that Barbers Hill seeks is purely a matter

of state law, and on this record this case could not have been brought in federal court.

        C. The Court’s ruling

        The Court concludes that Darresha has not met her burden to show by a

preponderance of the evidence that federal jurisdiction exists and that removal was proper.

                                      CONCLUSION

        Barbers Hill’s motion to remand (Dkt. 10) is GRANTED. This case is

REMANDED to the 253rd Judicial District Court of Chambers County, Texas, where it

was assigned cause number 23DCV0776. The Clerk is directed to provide a copy of this

order to the parties. The Clerk is further directed to send a certified copy of this order via

certified mail, return receipt requested, to the District Clerk of Chambers County, Texas

and the Clerk of the 253rd Judicial District Court of Chambers County, Texas.

        Any other pending motions are DENIED as moot.

        SIGNED at Houston, Texas on December 20, 2023.


                                                    _______________________________
                                                        GEORGE C. HANKS, JR.
                                                    UNITED STATES DISTRICT JUDGE




6/6
